Case 1:15-cv-01000-RGA Document 427 Filed 02/06/18 Page 1 of 4 PageID #: 14169




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


  ASTRAZENECA LP, ASTRAZENECA
  AB, ASTRAZENECA UK LIMITED, and
  ASTRAZENECA PHARMACEUTICALS LP,
                    Plaintiffs,
                                                      Civil Action No. 15-cv-01000-RGA
                        v.                                   CONSOLIDATED

  SIGMAPHARM LABORATORIES,
  LLC, ET AL.


                    Defendant.

  ASTRAZENECA LP, ASTRAZENECA
  AB, ASTRAZENECA UK LIMITED, and
  ASTRAZENECA PHARMACEUTICALS LP,
                    Plaintiffs,
                                                      CivilActionNo. 15-cv-00999-RGA
                        V.

  MYLAN PHARMACEUTICALS INC.


                    Defendant.




  MEI 26573589v.1
Case 1:15-cv-01000-RGA Document 427 Filed 02/06/18 Page 2 of 4 PageID #: 14170




                                         CONSENT JUDGMENT

                    AstraZeneca LP, AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca

  Pharmaceuticals LP (hereinafter collectively "AstraZeneca"), and Mylan Pharmaceuticals Inc.

  (hereinafter "Defendant"), the parties in the above-captioned action ("the Action"), have agreed

  to terms and conditions representing a negotiated settlement of this Action and have set forth

  those terms and conditions in a Settlement Agreement (the "Settlement Agreement"). Now the

  parties, by their respective undersigned attorneys, hereby stipulate and consent to entry of

  judgment and an injunction in this Action as follows:

                    IT IS this   _6._ day of ]e)o ,2018:
                    ORDERED, ADJUDGED AND DECREED as follows:

                    1.      This District Court has jurisdiction over the subject matter of the above

  Action and has personal jurisdiction over the parties.

                    2.      As used in this Consent Judgment, (i) the term "Defendant Product" shall

  mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

  Application No. 208597 (and defined in greater detail in the Settlement Agreement); (ii) the term

  "Licensed Patents" shall mean United States Patent Numbers 6,251,910; RE46,276 (6,525,060);

  7,250,419; 7,265,124, and 8,425,934; and (iii) the term "Affiliate" shall mean any entity or

  person that, directly or indirectly through one or more intermediaries, controls, is controlled by,

  or is under common control with Defendant; for purposes of this definition, "control" means (a)

  ownership, directly or through one or more intermediaries, of (1) more than fifty percent (50%)

  of the shares of stock entitled to vote for the election of directors, in the case of a corporation, or

  (2) more than fifty percent ( 50%) of the equity interests in the case of any other type of legal

  entity or status as a general partner in any partnership, or (b) any other arrangement whereby an

  entity or person has the right to elect a majority of the Board of Directors or equivalent


  MEI 26573589v.J
Case 1:15-cv-01000-RGA Document 427 Filed 02/06/18 Page 3 of 4 PageID #: 14171




  governing body of a corporation or other entity or the right to direct the management and policies

  of a corporation or other entity.

                    3.   Unless otherwise specifically authorized pursuant to the Settlement

  Agreement, Defendant, including any of its Affiliates, successors and assigns, is enjoined from

  making, having made, using, selling, offering to sell, importing or distributing of the Defendant

  Product.

                    4.   Compliance with this Consent Judgment may be enforced by AstraZeneca

  and its successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

                    5.   This District Court retains jurisdiction to enforce or supervise performance

  under this Consent Judgment and the Settlement Agreement.

                    6.   All claims, counterclaims, affirmative defenses and demands in this action

  are hereby dismissed with prejudice and without costs, disbursements or attorneys' fees to any

  party.



                                                               United States




  MEI 26573589v.I
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    Case 1:15-cv-01000-RGA Document 427 Filed 02/06/18 Page 4 of 4 PageID #: 14172




        We hereby consent to the form and entry of this Order:



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        MEI 26573589v.1
